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CRIMINAL PROCEEDINGS – Sentencing
               UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO


Judge Scott W. Skavdahl                                      Date: August 1, 2022
Case No. 1:21-cr-145                                         Deputy Clerk: Kim Tudela
Place: Boise – Courtroom 2                                   Reporter: Anne Bowline
                                                             Time: 1:58 – 2:30 p.m.
                                                                    2:44 – 2:50 p.m.

                UNITED STATES OF AMERICA vs. ERIK KONRAD EHRLIN

Probation Officer: Caitlyn O’Very
Counsel for the United States: Frank Zebari
Counsel for the Defendant: Miles Pope, Federal Defenders

(☒) Court reviewed case history.
(☒) Defendant previously entered a plea of GUILTY to Count 1 and 2 of the Superseding
Information and agreed to the forfeiture.

 Total combined offense level 26. Criminal history category IV. Guideline range of 92-115
                                        months.

(☒) Objections to the presentence report were addressed by the court.
(☒) The Court marked bodycam footage as Court Exhibit 1. Defense rebuttal reserved.
(☒) Counsel made sentencing recommendations to the Court.
(☒) Defendant made statements on his own behalf.
(☒) Court granted the Government’s oral motion of 3rd level for acceptance of responsibility.
(☒) Court addressed the 3553(a) factors.

SENTENCE: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the court the
defendant, Erik Konrad Ehrlin, is hereby committed to the custody of the Bureau of Prisons
to be imprisoned for a term of 78 months on Count 1 and 12 months on Count 2 to run
concurrently.

It is further ordered that the defendant shall pay to the United States a $125 special assessment
and fine waived. Restitution: $7,964.01, interest waived.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term
of 3 years on Count 1 and 1 year on Count 2 to run concurrently. Within 72 hours of release
from the custody of the Bureau of Prisons, the defendant shall report in person to the probation
office in the district to which the defendant is released.
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The defendant shall comply with all mandatory, standard, and special conditions of supervised
release as outlined in the sentencing recommendation (dkt. 48) and judgment in this criminal
case, to be filed by this Court.

(☒) Final order of forfeiture forthcoming.
(☒) The Court recommended the defendant receive credit for time served in federal custody.
(☒) It is recommended that the defendant participate in the RDAP program and be housed in the
facility at Sheridan, OR.
(☒) Right to appeal explained.
(☒) Defendant remanded to the custody of USMS.
